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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

RANDY ETHAN HALPRIN,                                §
TDCJ No. 999453,                                    §
                                                    §
                Petitioner,                         §
                                                    §
v.                                                  §
                                                    §      Civil Action No. 3:13-CV-1535-L
LORIE DAVIS, Director, Texas                        §
Department of Criminal Justice,                     §
Correctional Institutions Division,                 §
                                                    §
                Respondent.                         §

          ORDER TRANSFERRING POTENTIALLY SUCCESSIVE PETITION

        Before the court is a document styled “Petition for Writ of Habeas Corpus” (“Petition”)

(Doc. 58), which Petitioner Randy Ethan Halprin (“Halprin” or “Petitioner”) filed on May 17,

2019, to challenge his 2003 conviction for capital murder and sentence of death. Also before the

court are a number of related motions and requests for relief (Docs. 59, 62, 64, 66, 68, 72). For

the reasons herein explained, the court determines that Halprin’s May 17, 2019 Petition should be

transferred to the Fifth Circuit, as it lacks subject matter jurisdiction to entertain the Petition. The

court, therefore, directs the clerk of the court to transfer the Petition (Doc. 58) to the Fifth Circuit,

in accordance with 28 U.S.C. §§ 1631 & 2244(b), for determination of whether it should be

allowed to proceed.     Except for Respondent’s Motion for Substitution of Counsel (Doc. 59),

which is granted, the court denies as moot the remaining motions pending in this case (Docs. 62,

64, 66, 68, 72).

I.      Factual and Procedural Background

        Halprin is currently set for execution on October 10, 2019, for the murder of Irving Police

Officer Aubrey Hawkins. Halprin filed his original petition for federal habeas corpus relief in this
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action on March 20, 2014 (Doc. 5), to challenge his 2003 Dallas County capital murder conviction

and sentence of death, which he amended on June 17, 2014 (Doc. 15). After the United States

Court of Appeals for the Fifth Circuit (“Fifth Circuit”) denied a CoA on December 17, 2018, in

Halprin v. Davis, 911 F.3d 247 (5th Cir. 2018), Halprin filed a petition for writ of certiorari on

June 14, 2019 (no. 18-9676) with the United States Supreme Court. Thus, Halprin has already fully

litigated one federal habeas corpus action in this court which, unlike his new Petition, did not

include an assertion that he was denied due process because his state trial judge possessed

disqualifying bias.

       As noted, Halprin filed his current Petition on May 19, 2019. Shortly thereafter, on May

22, 2019, he moved to stay and abate the proceedings in this case so that he can return to state

court and litigate a new claim accusing his state trial judge of disqualifying bias (Doc. 62).

Respondent Lorie Davis, Director of the Texas Department of Criminal Justice Correctional

Institutions Division (“Respondent”), opposes Halprin’s Petition and request to stay and abate the

proceeding in this case and moved on June 6, 2019, for an extension to respond to the motion to

stay and abate (Doc. 64). On June 12, 2019 Respondent moved to dismiss, as successive, Halprin’s

Petition (Doc. 66) and filed a separate response opposing Halprin’s motion to stay and abate further

proceedings in this cause. Respondent contends that Halprin’s Petition is impermissibly successive

because it challenges the same judgment he previously challenged in this action, and his new due

process claim based on judicial bias does not fall within the exception under 28 U.S.C. §

2244(b)(2). Respondent has also moved to substitute counsel (Doc. 59).

       On July 17, 2019, Petitioner filed a motion for discovery (Doc. 72), which is opposed by

Respondent.    On August 21, 2019, Petitioner filed additional evidence in support of his new

habeas claim that his state trial judge possessed disqualifying bias because he is now and was a

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racist and Anti-Semite at the time of his murder trial (Doc. 76).       Also pending is a Motion for

Leave to File Amicus Brief in Support of Petition for Writ of Habeas Corpus (Doc. 68), which was

filed June 19, 2019, by the Anti-Defamation League.

II.     Discussion

        Because this is not the first time Halpin has sought federal habeas corpus relief, his current

Petition is governed by Title 28 U.S.C. § 2244(b)(2), which provides that a claim presented in a

second or successive habeas corpus application under section 2254 that was not presented in a

prior application shall be dismissed unless either: (1) the claim relies on a new rule of constitutional

law, made retroactive to cases on collateral review by the Supreme Court, that was previously

unavailable; or (2) the factual predicate for the claim could not have been discovered previously

through the exercise of due diligence and the facts underlying the claim, if proven and viewed in

the light of the evidence as a whole, would be sufficient to establish by clear and convincing

evidence that, but for the constitutional error, no reasonable factfinder would have found the

Petitioner guilty of the underlying offense.

        This court is not the appropriate forum to litigate the issue of whether Petitioner’s new

claim is, in fact, barred by section 2244(b).   In 28 U.S.C. § 2244(b)(3), Congress made the federal

Circuit Courts of Appeals the exclusive arbiters of whether a new claim satisfies the standard set

forth in section 2244(b)(2), by requiring a federal habeas petitioner, who is seeking to assert a new

claim not presented in a prior federal habeas proceeding, to move in the appropriate court of

appeals for an order authorizing the district court to consider the new application.          Congress

granted to the courts of appeals the sole authority to determine whether the petitioner may proceed.

See 28 U.S.C. § 2244(b)(3)(C) (“The court of appeals may authorize the filing of a second or

successive application only if it determines that the application makes a prima facie showing that

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the application satisfies the requirements of this subsection.”).    The court of appeals’ grant or

denial of authorization to file a second or successive application is not subject to further review by

appeal, a petition for rehearing, or writ of certiorari. 28 U.S.C. § 2244(b)(3)(E). As a result,

the Fifth Circuit is the sole and exclusive arbiter of whether Petitioner’s new claim may be brought

in this court, and the issue before this court is not whether to grant or deny Petitioner’s motion to

stay and abate his new Petition or whether this court should dismiss the Petition as successive but,

rather, whether the new Petition should be transferred as a second or successive petition to the

Fifth Circuit in accordance with 28 U.S.C. §§ 1631 & 2244(b).

       Halprin argues that his May 17, 2019 Petition is not a “second or successive petition”

because: (1) the factual predicate for his new claim was not previously available; and (2) his claim

of judicial bias, like the competency-to-be-executed claims raised in Panetti v. Quarterman, 551

U.S. 930 (2007), and Stewart v. Martinez-Villarreal, 523 U.S. 637 (1998), does not depend on the

factfinders’ assessment of guilt.   Petitioner fails to acknowledge, however, that the type of claims

asserted by Panetti and Martinez-Villarreal, that is, claims that a convicted defendant facing a

sentence of death lacked sufficient mental competence to be executed under the standard

announced in Ford v. Wainwright, 477 U.S. 399 (1986), are quite different in nature from his claim

of judicial bias based upon allegedly newly discovered evidence.           As the Fifth Circuit has

recently explained, claims based upon a convicted murderer’s assertion that he is mentally

incompetent to be executed are unique in their fluidity:

       [A] Ford incompetency-to-be-executed claim is not necessarily “successive” even
       if raised in a second or subsequent habeas application. A Ford claim can be raised
       in multiple proceedings and not be “successive.” That is because mental
       incompetence to be executed is not categorically a permanent condition.
       Incompetence may occur at various points after conviction, and it may recede and
       later reoccur. A finding that an inmate is incompetent to be executed does not
       foreclose the possibility that she may become competent in the future and would
       no longer be constitutionally ineligible for the death penalty. By contrast,
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       intellectual disability is by definition a permanent condition that must be manifested
       before the age of 18. A person who is found to be intellectually disabled is
       permanently ineligible to be executed, and the sentence of death is vacated.

Busby v. Davis, 925 F.3d 699, 713 (5th Cir. 2019) (footnotes omitted). Halprin’s assertion that

his trial judge possessed a disqualifying bias (at a discrete point in time) is far more analogous to

Busby’s assertion that he was intellectually disabled than to Panetti and Martinez-Villarreal’s

assertions that they were incompetent to be executed. Thus, the holdings in Panetti and Martinez-

Villarreal addressing Ford claims, which are subject to transitory factors, do not govern

Petitioner’s assertion of judicial bias at a particular point in time, which in this case would be the

time of his 2003 capital murder trial.

       Moreover, while Halprin maintains that he has only recently discovered evidence of his

trial judge’s alleged anti-Semitic bias from a May 2018 newspaper article, the source material for

that article, and the affidavits and other “new evidence” accompanying his latest Petition, include

public statements allegedly made by the trial judge at or near the time of his 2003 capital murder

trial. Specifically, the letter by the trial judge to the Governor of Texas was written in 2005,

photographs in college and law school yearbooks were published almost four decades ago, and

interviews and affidavits reflecting public statements allegedly made by the trial judge date as far

back as thirty years ago. Additionally, in the materials accompanying Petitioner’s latest Petition,

multiple persons who claim to have known the trial judge as a young man recite alleged instances

of public statements made by him reflecting racial or anti-Semitic bias. Because the trial judge’s

alleged anti-Semitic bias was a matter of public knowledge long before Halprin’s capital murder

trial, his own evidence raises issues regarding his diligence in bringing his latest claim. In other

words, Petitioner waited, without explanation, until the last possible minute before coming forward




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with his “new” evidence of alleged judicial bias in May 2019 to bring to the court’s attention a

newspaper article published in May 2018.

       For the reasons discussed above, however, this court is not the proper forum to litigate

whether Petitioner’s evidence of alleged judicial bias truly qualifies as “newly discovered,”

whether his evidence of alleged judicial bias was unavailable before May 2018, or whether he

exercised due diligence in asserting his latest claim, as the Fifth Circuit has exclusive jurisdiction

to determine such matters. Absent authorization from the Fifth Circuit, the court lacks subject

matter jurisdiction. The court will, therefore, transfer Halprin’s Petition, pursuant to 28 U.S.C. §

1631, to the Fifth Circuit for a determination of whether his new claim satisfies the requirements

of section 2244(b) for a second or successive petition and should be allowed to proceed.

III.   Conclusion

       For the reasons explained, the court directs the clerk of the court to transfer Petitioner’s

May 17, 2019 Petition (Doc. 58) to the Fifth Circuit, in accordance with 28 U.S.C. §§ 1631 &

2244(b), for determination of whether it should be allowed to proceed. The court also grants

Respondent’s motion for substitution of counsel (Doc. 59), allows Assistant Attorney General

Gwendolyn S. Vindell to withdraw as lead counsel for Respondent, such that she is relieved of any

further obligation to or representation of Respondent in this case, and allows Assistant Attorney

General Jennifer W. Morris to substitute as counsel representing Respondent in this federal habeas

corpus action. As the decision to transfer Halprin’s Petition to the Fifth Circuit moots the other

pending motions, the court denies as moot these motions (Docs. 62, 64, 66, 68, 72), and directs

the clerk of the court to term the motions



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   It is so ordered this 27th day of August, 2019.




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                                                Sam A. Lindsay
                                                United States District Judge




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